                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

 -----------------------------------------------------------X
 MARY CONNER, Individually and as the
 representative of a class of similarly situated persons,
                                                                Case No. 23-cv-
                                          Plaintiff,

                            - against -

 CHARLES & COLVARD, LTD. and
 CHARLESANDCOLVARD.COM, LLC.,

                                            Defendants.
 -----------------------------------------------------------X


                                   COMPLAINT – CLASS ACTION

                                             INTRODUCTION

                 1. Plaintiff, Mary Conner (“Plaintiff” or “Conner”), brings this action on behalf of

herself and all other persons similarly situated against Defendants Charles & Colvard, Ltd. and

Charlesandcolvard.com, LLC (hereinafter jointly referred to as “Charles & Colvard” or

“Defendants”), and states as follows:

                 2. Plaintiff is a visually-impaired and legally blind person who requires screen-

reading software to read website content using her computer. Plaintiff uses the terms “blind” or

“visually-impaired” to refer to all people with visual impairments who meet the legal definition of

blindness in that they have a visual acuity with correction of less than or equal to 20 x 200. Some

blind people who meet this definition have limited vision; others have no vision.

                 3. Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people

in the United States are visually impaired, including 2.0 million who are blind, and according to

the American Foundation for the Blind’s 2015 report.

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                4. Plaintiff brings this civil rights action against Charles & Colvard for their failure

to design, construct, maintain, and operate their website to be fully accessible to and independently

usable by Plaintiff and other blind or visually-impaired persons. Defendants are denying blind and

visually-impaired persons throughout the United States with equal access to the goods and services

Charles     &      Colvard      provides      to       their   non-disabled     customers      through

http//:www.Charlesandcolvard.com (hereinafter “Charlesandcolvard.com” or “the website”).

Defendants’ denial of full and equal access to its website, and therefore denial of its products and

services offered, and in conjunction with its physical locations, is a violation of Plaintiff’s rights

under the Americans with Disabilities Act (the “ADA”).

                5. Charlesandcolvard.com provides to the public a wide array of the goods,

services, price specials, employment opportunities and other programs offered by Charles &

Colvard. Yet, Charlesandcolvard.com contains thousands of access barriers that make it difficult

if not impossible for blind and visually-impaired customers to use the website. In fact, the access

barriers make it impossible for blind and visually-impaired users to even complete a transaction

on the website. Thus, Charles & Colvard excludes the blind and visually-impaired from the full

and equal participation in the growing Internet economy that is increasingly a fundamental part of

the common marketplace and daily living. In the wave of technological advances in recent years,

assistive computer technology is becoming an increasingly prominent part of everyday life,

allowing blind and visually-impaired persons to fully and independently access a variety of

services.

                6. Plaintiff visited Defendants’ website for purposes of making a purchase.

However, Plaintiff is also an advocate of the rights of similarly situated disabled persons and is a

“tester” for the purpose of asserting her civil rights and monitoring, ensuring, and determining



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whether places of public accommodation and/or their websites and apps are in compliance with

the ADA.

               7. The blind have an even greater need than the sighted to shop and conduct

transactions online due to the challenges faced in mobility. The lack of an accessible website

means that blind people are excluded from experiencing transacting with Defendants’ website and

from purchasing goods or services from Defendants’ website.

               8. Despite readily available accessible technology, such as the technology in use at

other heavily trafficked retail websites, which makes use of alternative text, accessible forms,

descriptive links, resizable text and limits the usage of tables and JavaScript, Defendants have

chosen to rely on an exclusively visual interface. Charles & Colvard’s sighted customers can

independently browse, select, and buy online without the assistance of others. However, blind

persons must rely on sighted companions to assist them in accessing and purchasing on

Charlesandcolvard.com.

               9. By failing to make the website accessible to blind persons, Defendants are

violating basic equal access requirements under both state and federal law.

               10. Congress provided a clear and national mandate for the elimination of

discrimination against individuals with disabilities when it enacted the ADA. Such discrimination

includes barriers to full integration, independent living, and equal opportunity for persons with

disabilities, including those barriers created by websites and other public accommodations that are

inaccessible to blind and visually impaired persons.

               11. Plaintiff browsed and intended to make an online purchase of jewelry including

the 4 CTW Round Caydia Lab Grown Diamond Four Prong Solitaire Stud Earrings 14K Yellow

Gold and the 1.20 CTW DEW Pear Forever One Moissanite Toi et Moi Necklace 14K Yellow

Gold on Charlesandcolvard.com. However, unless Defendants remedy the numerous access
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barriers on its website, Plaintiff and Class members will continue to be unable to independently

navigate, browse, use, and complete a transaction on Charlesandcolvard.com.

               12. Because Defendants’ website, Charlesandcolvard.com, is not equally accessible

to blind and visually-impaired consumers, it violates the ADA. Plaintiff seeks a permanent

injunction to cause a change in Charles & Colvard’s policies, practices, and procedures to that

Defendants’ website will become and remain accessible to blind and visually-impaired consumers.

This complaint also seeks compensatory damages to compensate Class members for having been

subjected to unlawful discrimination.

                                JURISDICTION AND VENUE

               13. This Court has subject matter jurisdiction over this action under 28 U.S.C. §

1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. §

12181 et seq., and 28 U.S.C. § 1332, because this is a class action, as defined by 28 U.S.C. §

1332(d)(1)(B), in which a member of the putative class is a citizen of a different state than

Defendants, and the amount in controversy exceeds the sum or value of $5,000,000, excluding

interest and costs. See 28 U.S.C. § 133(d)(2).

               14. This Court also has supplemental jurisdiction over pursuant to 28 U.S.C. §

1367, over Plaintiff’s pendent claims under State Law.

               15. Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)-(c) and 144(a)

because Plaintiff resides in this District, Defendants conduct and continue to conduct a substantial

and significant amount of business in this District, and a substantial portion of the conduct

complained of herein occurred in this District.

               16. Defendants are registered to do business in the State of North Carolina and have

been conducting business in North Carolina, including in this District. Defendants maintain Brick-

and-mortar places of accommodation in this District which are subject to personal jurisdiction in
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this District. Defendants also have been and are committing the acts alleged herein in this District

and have been and are violating the rights of consumers in this District and have been and are

causing injury to consumers in this District. A substantial part of the act and omissions giving rise

to Plaintiff’s claims have occurred in this District.

                                             PARTIES

               17. Plaintiff, is and has been at all relevant times a resident of Mecklenburg County,

State of North Carolina.

               18. Plaintiff is legally blind and a member of a protected class under the ADA, 42

U.S.C. § 12102(l)-(2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et

seq. Plaintiff, Mary Conner, cannot use a computer without the assistance of screen reader

software. Plaintiff, Mary Conner, has been denied the full enjoyment of the facilities, goods and

services of Charlesandcolvard.com, as well as to the facilities, goods and services of Defendants’

brick and mortar locations, as a result of accessibility barriers on Charlesandcolvard.com.

               19. Defendant, Charles & Colvard, Ltd., is a North Carolina Domestic business

corporation with its principal place of business located at 170 Southport Drive, Morrisville, NC

27560.

               20. Defendant, Charlesandcolvard.com, LLC, is a North Carolina Domestic

limited liability company with its principal place of business located at 170 Southport Drive,

Morrisville, NC, 2756

               21. Defendants own and operate Charles & Colvard Shops (hereinafter, “Charles

& Colvard Shops” or “Shops”), which is a place of public accommodation. Charles & Colvard

maintain physical Charles & Colvard Shops in North Carolina.

               22. The Charles & Colvard Shops provide to the public important and enjoyable

goods and services such as the most brilliant moissanite and lab grown diamond jewelry that is
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affordable and ethically sourced amongst the many items offered for sale. Defendants also

provide to the public a website known as Charlesandcolvard.com which provides consumers

with access to an array of goods and services offered to the public by the Charles & Colvard

Shops, including, the ability to learn about the variety of ethically sourced and affordable

moissanite and lab-grown diamond jewelry sold at the Charles & Colvard Shops and the ability

to make online purchases, all with the click of a mouse. The Website also lets the visitor learn

about promotions, and learn about Charles & Colvard and information about the Charles &

Colvard Shops’ locations, and times of operation, among other features. The inaccessibility of

Charlesandcolvard.com has deterred Plaintiff from making an online purchase of the 4 CTW

Round Caydia Lab Grown Diamond Four Prong Solitaire Stud Earrings 14K Yellow Gold and

the 1.20 CTW DEW Pear Forever One Moissanite Toi et Moi Necklace 14K Yellow Gold.

               23. Defendants’ locations are public accommodations within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7). Defendants’ website is a service, privilege, or

advantage that is heavily integrated with Defendants’ physical Charles & Colvard Shops and

operates as a gateway thereto.

                                    NATURE OF THE CASE

               24. The Internet has become a significant source of information, a portal, and a tool

for conducting business, doing everyday activities such as shopping, learning, banking,

researching, as well as many other activities for sighted, blind and visually-impaired persons alike.

               25. The blind access websites by using keyboards in conjunction with screen-

reading software which vocalizes visual information on a computer screen. Except for a blind

person whose residual vision is still sufficient to use magnification, screen access software

provides the only method by which a blind person can independently access the Internet. Unless



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websites are designed to allow for use in this manner, blind persons are unable to fully access

Internet websites and the information, products and services contained therein.

               26. For screen-reading software to function, the information on a website must be

capable of being rendered into text. If the website content is not capable of being rendered into

text, the blind user is unable to access the same content available to sighted users.

               27. Blind users of Windows operating system-enabled computers and devises have

several screen-reading software programs available to them. Job Access With Speech, otherwise

known as “JAWS” is currently the most popular, separately purchase and downloaded screen-

reading software program available for blind computer users.

               28. The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.0 of the Web Content

Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established guidelines for making

websites accessible to blind and visually-impaired persons. These guidelines are universally

followed by most large business entities and government agencies to ensure their websites are

accessible.   Many Courts have also established WCAG 2.0 as the standard guideline for

accessibility. The federal government has also promulgated website accessibility standards under

Section 508 of the Rehabilitation Act. These guidelines are readily available via the Internet, so

that a business designing a website can easily access them. These guidelines recommend several

basic components for making websites accessible, including but not limited to: adding invisible

alt-text to graphics, ensuring that all functions can be performed using a keyboard and not just a

mouse, ensuring that image maps are accessible, and adding headings so that blind persons can

easily navigate the site. Without these very basic components, a website will be inaccessible to a

blind person using a screen reader.

                                  FACTUAL ALLEGATIONS
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               29. Defendants own and operate the Charles & Colvard Shops in North Carolina

and provide the most brilliant moissanite and lab grown diamond jewelry that is both affordable

and ethically sourced, amongst the many items offered for sale to the public.

               30. Charlesandcolvard.com is a service and benefit offered by Defendants in North

Carolina and throughout the United States. Charlesandcolvard.com is owned, controlled and/or

operated by Charles & Colvard, Ltd. and Charlesandcolvard.com, LLC.

               31. Charlesandcolvard.com is a commercial website that offers products and

services for online sale that are available in the Charles & Colvard Shops. The online Shops allow

the user to browse and learn about the products and services provided at the Charles & Colvard

Shops, including learning about the different types of moissanite and lab grown diamond jewelry

offered for sale, make purchases, and perform a variety of other functions.

               32. Among the features offered by Charlesandcolvard.com are the following:

               (a) learning information about Charles & Colvard Shops including, allowing

persons who wish to visit the Shops to learn its location, hours of operation, and phone numbers;

               (b) an online Charles & Colvard Shop, allowing customers to learn about and

purchase ethically sourced and affordable moissanite and lab-grown diamond jewelry for delivery

to their doorstep; and

               (c) learning about the company, learning about shipping and return policies,

learning about career opportunities, learning about how the diamonds are made, and learning about

promotions.

               33. This case arises out of Charles & Colvard’s policy and practice of denying the

blind access to Charlesandcolvard.com, including the goods and services offered by Charles &

Colvard through Charlesandcolvard.com. Due to Charles & Colvard’s failure and refusal to

remove access barriers to Charlesandcolvard.com, blind individuals have been and are being
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denied equal access to Charles & Colvard, as well as to the numerous goods, services and benefits

offered to the public through Charlesandcolvard.com.

               34. Charles & Colvard denies the blind access to goods, services and information

made available through Charlesandcolvard.com by preventing them from freely navigating

Charlesandcolvard.com.

               35. Charlesandcolvard.com contains access barriers that prevent free and full use

by Plaintiff and blind persons using keyboards and screen-reading software. These barriers are

pervasive and include, but are not limited to: lack of alt-text on graphics, inaccessible drop-down

menus, the lack of navigation links, the lack of adequate prompting and labeling, the denial of

keyboard access, empty links that contain no text, redundant links where adjacent links go to the

same URL address, and the requirement that transactions be performed solely with a mouse.

               36. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical

image on a website. Web accessibility requires that alt-text be coded with each picture so that a

screen-reader can speak the alternative text while sighted users see the picture. Alt-text does not

change the visual presentation except that it appears as a text pop-up when the mouse moves over

the picture. There are many important pictures on Charlesandcolvard.com that lack a text

equivalent. The lack of alt-text on these graphics prevents screen readers from accurately

vocalizing a description of the graphics (screen-readers detect and vocalize alt-text to provide a

description of the image to a blind computer user).            As a result, Plaintiff and blind

Charlesandcolvard.com customers are unable to determine what is on the website, browse the

website or investigate Charles & Colvard’s web pages and/or make purchases.

               37. Charlesandcolvard.com also lacks prompting information and

accommodations necessary to allow blind shoppers who use screen-readers to locate and

accurately fill-out online forms. On a shopping site such as Charlesandcolvard.com, these forms
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include search fields to locate products, search fields used to select color, clarity, cut, and

quantity, and fields used to fill-out personal information, including address and credit card

information. Due to lack of adequate labeling, Plaintiff and blind customers cannot make

purchases or inquiries as to Defendants’ products, nor can they enter their personal identification

and financial information with confidence and security.

               38. Specifically, when Plaintiff, using JAWS, attempted to make a purchase, she

encountered the following problems:

   1. Plaintiff was unable to complete a purchase on this website. When selecting an
      individual product, a customer must select which color grade they want before the
      website allows them to add the item to the shopping cart. A sighted user will see the
      color grade options on the right side of the screen. However, the screen reader will read
      all the color grade options as one, leaving Plaintiff and blind user unable to choose
      between the color grades. Consequently, Plaintiff was unable to add her items to her
      shopping cart and could not complete any purchase. This is a critical error.
   2. Plaintiff was unable to utilize the website’s search function. The search button at the
      top right of the home page is simply read as “button” by the screen reader. Plaintiff and
      other blind users will have no idea what this button does and will not be able to utilize
      the search function to locate products.
   3. Plaintiff was unable to access Defendants’ social media pages. The bottom of the home
      page has links to various social media pages belonging to Defendants. The screen reader
      announces these as just “links.” Plaintiff and other blind users will have no idea what
      these buttons do and are unable to use the website to connect with Charles & Colvard
      on social media and find out more information about their products and services.

Consequently, Plaintiff and blind visitors to the website are unable to complete a transaction.

               39. On Charlesandcolvard.com, blind customers are not aware if the desired

products have been added to the Shopping cart because the screen-reader does not indicate the

type of product or quantity. Therefore, blind customers are essentially prevented from

purchasing any products on Charlesandcolvard.com.

               40. Furthermore, Charlesandcolvard.com lacks accessible image maps. An image

map is a function that combines multiple words and links into one single image. Visual details

on this single image highlight different “hot spots” which, when clicked on, allow the user to
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jump to many different destinations within the website. For an image map to be accessible, it

must contain alt-text for the various “hot spots.” The image maps on Charlesandcolvard.com’s

menu page do not contain adequate alt-text and are therefore inaccessible to Plaintiff and the

other blind individuals attempting to make a purchase. When Plaintiff tried to access the menu

link in order to make a booking and purchase, she was unable to access it completely.

               41. Moreover, the lack of navigation links on Defendants’ website makes

attempting to navigate through Charlesandcolvard.com even more time consuming and

confusing for Plaintiff and blind consumers.

               42. Charlesandcolvard.com requires the use of a mouse to complete a transaction.

Yet, it is a fundamental tenet of web accessibility that for a web page to be accessible to Plaintiff

and blind people, it must be possible for the user to interact with the page using only the

keyboard. Indeed, Plaintiff and blind users cannot use a mouse because manipulating the mouse

is a visual activity of moving the mouse pointer from one visual spot on the page to another.

Thus, Charlesandcolvard.com’s inaccessible design, which requires the use of a mouse to

complete a transaction, denies Plaintiff and blind customers the ability to independently navigate

and/or make purchases and bookings on Charlesandcolvard.com.

               43. Due to Charlesandcolvard.com’s inaccessibility, Plaintiff and blind customers

must in turn spend time, energy, and/or money to make their purchases at the Charles & Colvard

Shops. Some blind customers may require a driver to get to the Charles & Colvard Shops or

require assistance in navigating the Charles & Colvard Shops. Unfortunately, Plaintiff could not

even locate a Charles & Colvard Shops location on the website. By contrast, if

Charlesandcolvard.com was accessible, a blind person could independently investigate products

and programs and make purchases and/or reservations via the Internet as sighted individuals can

and do. According to WCAG 2.0 Guideline 2.4.1, a mechanism is necessary to bypass blocks of
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content that are repeated on multiple webpages because requiring users to extensively tab before

reaching the main content is an unacceptable barrier to accessing the website. Plaintiff must tab

through every navigation bar option and footer on Defendants’ website in an attempt to reach the

desired service. Thus, Charlesandcolvard.com’s inaccessible design, which requires the use of a

mouse to complete a transaction, denies Plaintiff and blind customers the ability to independently

make purchases on Charlesandcolvard.com.

               44. Charlesandcolvard.com thus contains access barriers which deny the full and

equal access to Plaintiff, who would otherwise use Charlesandcolvard.com and who would

otherwise be able to fully and equally enjoy the benefits and services of Charles & Colvard in

North Carolina and throughout the United States.

               45. Plaintiff, Mary Conner, has made numerous attempts to make purchases on

Charlesandcolvard.com, most recently on June 7, 2023, and June 11, 2023, but was unable to do

so independently because of the many access barriers on Defendants’ website. These access

barriers have caused Charlesandcolvard.com to be inaccessible to, and not independently usable

by, blind and visually-impaired persons. Amongst other access barriers experienced, Plaintiff

was unable to make an online purchase of clothing including the 4 CTW Round Caydia Lab

Grown Diamond Four Prong Solitaire Stud Earrings 14K Yellow Gold and the 1.20 CTW DEW

Pear Forever One Moissanite Toi et Moi Necklace 14K Yellow Gold.

               46. Moreover, if Defendants remove the access barriers that currently exist on the

Website, Plaintiff will definitely visit the Website in the future to inquire about additional

affordable and ethically sourced diamond jewelry for delivery to her doorstep. Just because

you’re blind doesn’t mean you can’t look fashionable. Plaintiff enjoys browsing for new

diamond jewelry, and wearing diamond earrings and necklaces makes her feel beautiful, even if

she can’t see what she looks like. When Plaintiff learned about the affordability of moissanite
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diamonds and the new lab grown diamonds by browsing accessible websites and articles, she

was very excited very excited about the new price points. Local friends informed Plaintiff of the

high-jewelry that Defendants offer and Plaintiff was interested in making purchases on their

website, but was unable to do so because of the access barriers. Plaintiff likes that the diamonds

Defendants use are sourced in an ethical and environmentally conscious manner, without

compromising on quality. If the website was accessible to the blind, Plaintiff will be able to visit

Defendants’ website and purchase jewelry without the need to visit the physical location and

avoid all the challenges that blind people face when venturing out. Plaintiff has bought similar

items from other (accessible) online vendors in the past. However, since Defendants’ fashionable

products are superior to its competition and the prices appear more competitive, Plaintiff would

continue to make purchases on Defendants’ website if it was accessible. Unlike a brick-and-

mortar facility, a website is instantly accessible at any moment, and, thus, an inability to make a

purchase can only be attributed to access barriers (whereas for brick-and-mortar locations it can

be attributed to proximity, travel time, etc.). See Sanchez v. Nutco, Inc., 10-CV-10107 (JPO),

2022 U.S. Dist. LEXIS 51247, at *7 (S.D.N.Y. Mar. 22, 2022) (citing Quezada v U.S. Wings,

Inc., 20 Civ. 10707 (ER), 2021 U.S. Dist. LEXIS 234057, at *4 (S.D.N.Y. Dec. 7 2021)).

Determining whether an ADA website accessibility complaint properly allege whether plaintiff

lives in “close proximity” to a specific location makes no sense when goods can be browsed,

bought, and delivered to Plaintiff’s home through a website. Likewise, factual considerations of

an intent to return regarding a physical location, such as how often the plaintiff walks by the

location, or how often they enter the facility, are not applicable. Cf. Lopez v. Arby Franchisor,

LLC, 19-CV-10074 (VSB) 2021 U.S. Dist. LEXIS 43838. at *10 (S.D.N.Y. March 8, 2021).

Plaintiff made numerous attempts to make purchases on the website during April, May, and June

2023 without success and will definitely make purchases of items such as diamond earrings,
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necklaces, rings, bracelets which are sold on the website and which currently cannot be

purchased by blind persons.

               47. As described above, Plaintiff has actual knowledge of the fact that

Defendants’ website, Charlesandcolvard.com, contains access barriers causing the website to be

inaccessible, and not independently usable by, blind and visually-impaired persons.

               48. These barriers to access have denied Plaintiff full and equal access to, and

enjoyment of, the goods, benefits and services of Charlesandcolvard.com and the Charles &

Colvard Shops.

               49. Defendants engaged in acts of intentional discrimination, including but not

limited to the following policies or practices:

               (a) constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or

               (b) constructed and maintained a website that is sufficiently intuitive and/or

obvious that is inaccessible to blind class members; and/or

               (c) failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind class members.

               50. Defendants utilize standards, criteria or methods of administration that have

the effect of discriminating or perpetuating the discrimination of others.

               51. Because of Defendants’ denial of full and equal access to, and enjoyment of,

the goods, benefits and services of Charlesandcolvard.com and the Charles & Colvard Shops,

Plaintiff and the class have suffered an injury-in-fact which is concrete and particularized and

actual and is a direct result of Defendants’ conduct.

                               CLASS ACTION ALLEGATIONS



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                52. Plaintiff, on behalf of herself and all others similarly situated, seeks

certification of the following nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal

Rules of Civil Procedure: “all legally blind individuals in the United States who have attempted

to access Charlesandcolvard.com and as a result have been denied access to the enjoyment of

goods and services offered by Charles & Colvard, during the relevant statutory period.”

                53. Plaintiff seeks certification of the following North Carolina subclass pursuant

to Fed.R.Civ.P. 23(a), 23(b)(2), and, alternatively, 23(b)(3): “all legally blind individuals in the

State of North Carolina who have attempted to access Charlesandcolvard.com and as a result

have been denied access to the enjoyment of goods and services offered by Charles & Colvard,

during the relevant statutory period.”

                54. There are thousands of visually-impaired persons in North Carolina. There

are approximately 8.1 million people in the United States who are visually-impaired. Id. Thus,

the persons in the class are so numerous that joinder of all such persons is impractical and the

disposition of their claims in a class action is a benefit to the parties and to the Court.

                55. This case arises out of Defendants’ policy and practice of maintaining an

inaccessible website denying blind persons access to the goods and services of

Charlesandcolvard.com and Charles & Colvard. Due to Defendants’ policy and practice of

failing to remove access barriers, blind persons have been and are being denied full and equal

access to independently browse, select and Shops on Charlesandcolvard.com and by extension

the goods and services offered through Defendants’ website to Charles & Colvard.

                56. There are common questions of law and fact common to the class, including

without limitation, the following:

                (a) Whether Charlesandcolvard.com is a “public accommodation” under the

ADA;
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               (b) Whether Charlesandcolvard.com is a “place or provider of public

accommodation” under the laws of North Carolina;

               (c) Whether Defendants, through its website, Charlesandcolvard.com, deny the

full and equal enjoyment of its goods, services, facilities, privileges, advantages, or

accommodations to people with visual disabilities in violation of the ADA; and

               (d) Whether Defendants, through its website, Charlesandcolvard.com, deny the

full and equal enjoyment of its goods, services, facilities, privileges, advantages, or

accommodations to people with visual disabilities in violation of the law of North Carolina.

               57. The claims of the named Plaintiff are typical of those of the class. The class,

similar to the Plaintiff, is severely visually-impaired or otherwise blind, and claims Charles &

Colvard has violated the ADA, and/or the laws of North Carolina by failing to update or remove

access barriers on their website, Charlesandcolvard.com, so it can be independently accessible to

the class of people who are legally blind.

               58. Plaintiff will fairly and adequately represent and protect the interests of the

members of the Class because Plaintiff has retained and is represented by counsel competent and

experienced in complex class action litigation, and because Plaintiff has no interests antagonistic

to the members of the class. Class certification of the claims is appropriate pursuant to Fed. R.

Civ. P. 23(b)(2) because Defendants have acted or refused to act on grounds generally applicable

to the Class, making appropriate both declaratory and injunctive relief with respect to Plaintiff

and the Class as a whole.

               59. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

because questions of law and fact common to Class members clearly predominate over questions

affecting only individual class members, and because a class action is superior to other available

methods for the fair and efficient adjudication of this litigation.
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                 60. Judicial economy will be served by maintenance of this lawsuit as a class

action in that it is likely to avoid the burden that would be otherwise placed upon the judicial

system by the filing of numerous similar suits by people with visual disabilities throughout the

United States.

                 61. References to Plaintiff shall be deemed to include the named Plaintiff and

each member of the class, unless otherwise indicated.

                                FIRST CAUSE OF ACTION
   (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)

                 62. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 59 of this Complaint as though set forth at length herein.

                 63. Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a)

provides that “No individual shall be discriminated against on the basis of disability in the full

and equal enjoyment of the goods, services, facilities, privileges, advantages, or accommodations

of any place of public accommodation by any person who owns, leases (or leases to), or operates

a place of public accommodation.” Title III also prohibits an entity from “[u]tilizing standards or

criteria or methods of administration that have the effect of discriminating on the basis of

disability.” 42 U.S.C. § 12181(b)(2)(D)(I).

                 64. The Charles & Colvard Shops located in North Carolina is a sales

establishment and public accommodation within the definition of 42 U.S.C. §§ 12181(7)(H).

Charlesandcolvard.com is a service, privilege or advantage of Charles & Colvard.

Charlesandcolvard.com is a service that is by and integrated with the Charles & Colvard Shops.

                 65. Defendants are subject to Title III of the ADA because they own and operate

the Charles & Colvard Shops.

                 66. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful

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discrimination to deny individuals with disabilities or a class of individuals with disabilities the

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodations of an entity.

               67. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities an

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodation, which is equal to the opportunities afforded to other individuals.

               68. Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II),

unlawful discrimination includes, among other things, “a failure to make reasonable

modifications in policies, practices, or procedures, when such modifications are necessary to

afford such goods, services, facilities, privileges, advantages, or accommodations to individuals

with disabilities, unless the entity can demonstrate that making such modifications would

fundamentally alter the nature of such goods, services, facilities, privileges, advantages or

accommodations.”

               69. In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III),

unlawful discrimination also includes, among other things, “a failure to take such steps as may

be necessary to ensure that no individual with disability is excluded, denied services, segregated

or otherwise treated differently than other individuals because of the absence of auxiliary aids

and services, unless the entity can demonstrate that taking such steps would fundamentally alter

the nature of the good, service, facility, privilege, advantage, or accommodation being offered or

would result in an undue burden.”

               70. There are readily available, well-established guidelines on the Internet for

making websites accessible to the blind and visually-impaired. These guidelines have been

followed by other business entities in making their websites accessible, including but not limited
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to ensuring adequate prompting and accessible alt-text. Incorporating the basic components to

make their website accessible would neither fundamentally alter the nature of Defendants’

business nor result in an undue burden to Defendants.

               71. The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C.

§ 12101 et seq., and the regulations promulgated thereunder. Patrons of Charles & Colvard who

are blind have been denied full and equal access to Charlesandcolvard.com, have not been

provided services that are provided to other patrons who are not disabled, and/or have been

provided services that are inferior to the services provided to non-disabled patrons.

               72. Defendants have failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

               73. As such, Defendants discriminate, and will continue in the future to

discriminate against Plaintiff and members of the proposed class and subclass on the basis of

disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Charlesandcolvard.com and Charles & Colvard in

violation of Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12181 et seq. and/or its

implementing regulations.

               74. Unless the Court enjoins Defendants from continuing to engage in these

unlawful practices, Plaintiff and members of the proposed class and subclass will continue to

suffer irreparable harm.

               75. The actions of Defendants were and are in violation of the ADA, and therefore

Plaintiff invokes her statutory right to injunctive relief to remedy the discrimination.

               76. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

               77. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set

forth and incorporated therein, Plaintiff prays for judgment as set forth below.
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                                SECOND CAUSE OF ACTION
                                    (Declaratory Relief)

               78. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 75 of this Complaint as though set forth at length herein.

               79. An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendants deny, that

Charlesandcolvard.com contains access barriers denying blind customers the full and equal

access to the goods, services and facilities of Charlesandcolvard.com and by extension Charles &

Colvard, which Charles & Colvard owns, operates and/or controls, fails to comply with

applicable laws including, but not limited to, Title III of the American with Disabilities Act, 42

U.S.C. §§ 12182, et seq., prohibiting discrimination against the blind.

               80. A judicial declaration is necessary and appropriate at this time in order that

each of the parties may know their respective rights and duties and act accordingly.

                                    PRAYER FOR RELIEF

               WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and

the class and against the Defendants as follows:

   a)    A preliminary and permanent injunction to prohibit Defendants from violating the

         Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.;

   b)    A preliminary and permanent injunction requiring Defendants to take all the steps

         necessary to make its website, Charlesandcolvard.com, into full compliance with the

         requirements set forth in the ADA, and its implementing regulations, so that

         Charlesandcolvard.com is readily accessible to and usable by blind individuals;

   c)    A declaration that Defendants own, maintain and/or operate their website,

         Charlesandcolvard.com, in a manner which discriminates against the blind and which fails

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         to provide access for persons with disabilities as required by Americans with Disabilities

         Act, 42 U.S.C. §§ 12182, et seq.;

   d)    An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2) and/or

         (b)(3), appointing Plaintiff as Class Representative, and her attorneys as Class Counsel;

   e)    Compensatory damages in an amount to be determined by proof, including all applicable

         statutory damages and fines, to Plaintiff and the proposed class for violations of their civil

         rights under Federal and State laws;

   f)    Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by state and

         federal law;

   g)    For pre- and post-judgment interest to the extent permitted by law; and

   h)    For such other and further relief which this court deems just and proper.

This is the 22nd day of June, 2023

                                       LAW OFFICES OF SANJAY R. GOHIL, PLLC

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                                                -    And -


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